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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION


 DAN ALFONSO,
                   Plaintiff,
                                                 CIVIL ACTION FILE
 vs.
                                                 NO. 1:20-cv-00847-TWT
 CUMULUS MEDIA, INC. and JON DOES
 1-10,
              Defendants.



                                    JUDGMENT

       This action having come before the court, Honorable Thomas W. Thrash, Jr.,

United States District Judge, for consideration of Defendant‘s Motion for Summary

Judgment, and the court having granted said motion, it is

       Ordered and Adjudged that the plaintiff take nothing; that the defendant recover

its costs of this action, and the action be, and the same hereby is, dismissed.

       Dated at Atlanta, Georgia, this 15th day of October, 2021.


                                                       KEVIN P. WEIMER
                                                       CLERK OF COURT


                                                  By: s/ A. Hogan
                                                   Deputy Clerk
Prepared, Filed, and Entered
in the Clerk's Office
October 15, 2021
Kevin P. Weimer
Clerk of Court

By: s/ A. Hogan
       Deputy Clerk
